    Case 19-10782        Doc 169      Filed 04/15/20 Entered 04/15/20 16:26:56                 Desc Main
                                      Document      Page 1 of 13



                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MASSACHUSETTS
                                        (Eastern Division)



    In re
                                                           Chapter 13
             ANDREW GREENHUT,
                                                           Case No. 19-10782-JNF
                            Debtor.



            OBJECTION OF CREDITOR GITA SRIVASTAVA TO APPLICATION FOR
            COMPENSATION BY SPECIAL COUNSEL, CHARLES “CHAD” BARUCH

            Gita Srivastava (“Srivastava”), the holder of divorce-related claims against Andrew

Greenhut (the “Debtor”) and the only significant bona fide claim holder in this case, hereby files

this Objection to the Application by Attorney for the Debtor(s) for Compensation under 11

U.S.C. § 330(a) and MLBR Appendix 1, Rule 13-7(f)(1) filed by Attorney Charles “Chad”

Baruch (“Baruch”) [Doc. No. 163] (the “Second Baruch Application”). The Debtor previously

filed two successive motions to employ Baruch before finally obtaining authority, and the Court

specifically cautioned the Debtor and Baruch that any application for fees was subject to review

by the Court and objection by Srivastava. Baruch undertook representation of the Debtor with

the clear understanding and risk of nonpayment by the bankruptcy estate. Moreover, Baruch is

not bankruptcy counsel and is not being retained as such. Baruch’s engagement is manifestly not

in the best interest of the Debtor’s estate and creditors.

            Baruch had also previously submitted a substantially similar application, requiring

Srivastava to oppose it, only to withdraw the application as the date for hearing approached.1



1
 Application by Attorney for the Debtor(s) for Compensation under 11 U.S.C. § 330(a) and MLBR Appendix 1, Rule
13-7(f)(1) [Doc. No. 150] (the “First Baruch Application”).
 Case 19-10782       Doc 169     Filed 04/15/20 Entered 04/15/20 16:26:56            Desc Main
                                 Document      Page 2 of 13



Srivastava has been required to review yet another similarly deficient application by Baruch,

compare the two Baruch Applications, and file this new Objection, all at significant and needless

expense.

       In addition, Baruch indicates that he has received at least one postpetition payment from

the Debtor on February 25, 2020, immediately after Baruch withdrew the First Baruch

Application on February 24, 2020 [Doc. No. 160]. Neither the Debtor nor Baruch obtained Court

approval or authority for such payment, which should be disgorged to the estate.

       In further support of this Objection, Srivastava represents as follows:

                                          Introduction

       1.      The First Baruch Application suffered from block billing, terse descriptions of

services, and a narrative reduced to a single sentence describing the services rendered. As such,

the First Baruch Application failed to meet even the most liberal of requirements for a fee

application under the Bankruptcy Code and the Local Rules of this Court.

       2.      The First Baruch Application apparently covered only four days during the time

period between October 28, 2019, and November 23, 2019. The total amount of fees sought in

the First Baruch Application was $12,465, subject to a waiver of amounts in excess of $10,000.

       3.      The Second Baruch Application covers eight days between February 24, 2020

(the date the First Baruch Application was withdrawn), and March 5, 2020, for a total of

$13,050. Although the cover page of the Second Baruch Application indicates that Baruch is

seeking payment of $9,450 in fees, it is impossible to understand how that figure was

determined, as the Application itself indicates differing amounts due in various places, including

$9,939.83, $13,050, $13,539.83, and $10,000.




                                                2
 Case 19-10782         Doc 169     Filed 04/15/20 Entered 04/15/20 16:26:56           Desc Main
                                   Document      Page 3 of 13



        4.       The Second Baruch Application also appears to be an attempt by Baruch to

correct some of the deficiencies of the First Baruch Application. Block billing entries are broken

up significantly but not completely. On the other hand, the narrative of services contained in

Exhibit B is now actually shorter than previously, providing even less information. In fact, of the

entire 31-page application, Baruch’s resume consumes 15 pages. Eliminating the exhibit spacers

and the engagement letter leaves very little space indeed for substantive information, frustrating

the very purpose of review and consideration of whether such fees were necessary and beneficial

to the estate.

        5.       Even were the Second Baruch Application to be allowed, payment of any

approved fees would be inappropriate. The Debtor is already subject to at least ten separate

rulings requiring him to perform under the terms of his agreed-upon divorce settlement with

Srivastava, and the Debtor remains in contempt of that agreement. The Debtor remains subject to

garnishment and related orders in Texas. Allowing the Debtor to misdirect funds owed to

Srivastava to yet another attorney in yet another unfounded lawsuit attacking yet another final

judgment is manifestly inequitable. The Debtor’s funds (including any funds held in retainer by

Baruch or other attorneys) should instead be used to pay the Debtor’s court-ordered obligations

to Srivastava.

        6.       Although Baruch styled his fee request as an “Application by attorney for the

debtor,” Baruch provided no services to the bankruptcy estate. Nevertheless, Baruch is seeking

compensation from that estate. Despite not providing any services or benefit to the Debtor’s

creditors, payment to Baruch would penalize those creditors—the beneficiaries of and interest

holders in the estate—by reducing payments to them.




                                                 3
 Case 19-10782        Doc 169     Filed 04/15/20 Entered 04/15/20 16:26:56            Desc Main
                                  Document      Page 4 of 13



       7.      The Debtor elected to file his bankruptcy petition while the Texas litigation, in

which Baruch represents the Debtor, was pending. Any difficulty this creates is entirely Debtor’s

own making—both by committing funds to Baruch while acting in contempt of court-ordered

payments owed to creditor Srivastava, and by the Debtor’s choice to file bankruptcy while his

own lawsuits in Texas are pending. The Debtor’s scheme is a transparent attempt to convert

funds belonging to Srivastava to his own use as legal fees for his ongoing frivolous challenges to

Texas court orders.

       8.      The Bankruptcy Court (pursuant to the hearings conducted by Judge Bailey on

May 2, 2020, and June 27, 2020) put the Debtor and Baruch on notice that, while Debtor was

permitted to engage counsel, no permission was granted to use funds from the bankruptcy estate

to pay for such engagement. In fact, the Debtor has indicated that Baruch’s engagement for the

last several years has been funded by Debtor’s parents. There is no reason that should change

now. Instead, the Debtor would have this Court prejudice creditor Srivastava by directly

liquidating funds from the bankruptcy estate that are owed to creditor Srivastava. Any dispute in

connection with Srivastava’s claims and rights to funds should be resolved in connection with

her pending Motion to Dismiss. This Court is entitled to fully evaluate the issues, consider the

Motion to Dismiss for bad faith, and then make a determination which will also resolve any

question of fees to Baruch.

       9.      To the extent the Debtor claims this creates a hardship, the hardship is of his own

making. He chose to file for bankruptcy mid-stream in the Texas proceedings. The Debtor has

argued that, although Baruch provides no bankruptcy services or benefit to the estate, Baruch’s

engagement is necessary and beneficial to the Debtor personally. Indeed, the Debtor is entitled to

engage counsel for his own interests, however, the Debtor is not entitled to exhaust estate assets




                                                 4
 Case 19-10782        Doc 169     Filed 04/15/20 Entered 04/15/20 16:26:56             Desc Main
                                  Document      Page 5 of 13



to pay such counsel. It would be prejudicial and inequitable to allow the Debtor to seek the

benefits of bankruptcy protection to stay creditor Srivastava’s pending and ongoing efforts in the

Texas courts to enforce her judgments against him, while allowing him to use the bankruptcy

estate funds to fund his own litigation in Texas. The Debtor may not simultaneously use the

bankruptcy stay as both sword and shield.

                       Prepetition Divorce and Termination Proceedings

A.        Divorce and Property Settlement

          10.   The Debtor is a serial litigant who has dragged Srivastava through more than four

years of litigation in four courts across two states. After proposing, agreeing to, and obtaining

judgment on an agreement for divorce and property division (the “Agreed Divorce Property

Judgment”), the Debtor later changed his mind and decided to collaterally attack the final

judgment that he had not timely appealed. The Debtor’s bankruptcy filing, coming

contemporaneously with his continued efforts to challenge Texas divorce court orders, is merely

the latest attempt to evade long-standing court orders. The Debtor has spent the last three years

squandering the money he owes Srivastava on frivolous litigation attacking the Agreed Divorce

Property Judgment. Without exception, every Texas court examining the issue has rejected his

attacks.

          11.   The Debtor initially followed the Agreed Divorce Property Judgment. After five

months, however, he stopped making payments and decided to stop complying with this and

other court orders. The Debtor then spent the next three and a half years refusing to comply with

the property division he himself requested. He stands in violation of at least 10 Texas court

orders.




                                                 5
 Case 19-10782        Doc 169     Filed 04/15/20 Entered 04/15/20 16:26:56              Desc Main
                                  Document      Page 6 of 13



B.       Enforcement Proceedings

         12.   In July 2016, due to the Debtor’s absolute refusal to comply with orders of the

Texas Trial Court, including the Agreed Divorce Property Judgment, Srivastava was forced to

file a Petition for Enforcement of Property Division in the Texas Trial Court. Both parties

appeared with counsel and, after a trial, the court entered judgment against the Debtor on

March 30, 2017. Rejecting the Debtor’s spurious defenses, the Texas court found ten separate

violations of the Agreed Divorce Property Judgment and rendered judgment against the Debtor

in the amount of $38,000, plus fees and interest. The Texas court even ordered the Debtor to pay

Srivastava’s attorneys’ fees. The Debtor still refused to pay.

         13.   In August 2018, to effectuate the March 2017 enforcement judgment, Srivastava

was forced to file three separate garnishment actions against the Debtor in Texas. Srivastava won

each action, obtaining orders against the Debtor from October through November 2018.

Nevertheless, the Debtor continued his pattern of refusing to accept the Texas courts’ rulings and

filed a motion for new trial in the garnishment cases. The Texas court denied his motions on

February 6, 2019.

         14.   Once again, the Debtor failed to file any appeal. Although all of the garnishment

orders remain in effect, prior to his bankruptcy filing, the Debtor refused to pay or to comply

with any such orders. Instead, the Debtor devoted his funds to engaging additional attorneys to

prosecute ever more spurious claims and attacks on final orders.

         15.   After failing to achieve his desired results in more than 10 proceedings in Texas

courts over three years of frivolous litigation, the Debtor filed his bankruptcy petition in

Massachusetts in a last-ditch effort to escape the effects of his knowing and voluntary actions in

Texas.




                                                  6
 Case 19-10782       Doc 169     Filed 04/15/20 Entered 04/15/20 16:26:56            Desc Main
                                 Document      Page 7 of 13



C.     Termination of Debtor’s Parental Rights

       16.     The case regarding the final and irrevocable termination of the Debtor’s parental

rights in connection with Srivastava’s child (the “Termination Case”) is unrelated to the

bankruptcy: it is a separate cause of action from the parties’ divorce case and Agreed Divorce

Property Judgment which is at issue in the bankruptcy. The Termination Case is progressing at

the Texas Supreme Court, with briefing on the merits just recently completed in November 2019.

The Termination Case involves issues of special importance to the State of Texas, which has

written an amicus brief in support of Srivastava. The Debtor’s Texas counsel has agreed that

bankruptcy issues do not affect the Termination Case, and supported a motion in Texas to

reinstate the Termination Case notwithstanding this bankruptcy. Baruch himself, in full

awareness that he may not be approved or paid through the pending bankruptcy, consented to

moving forward. His representation of the Debtor outside the bankruptcy was never conditioned

on approval of his fees by the Bankruptcy Court.

       17.     The Termination Case involves a four-year-old final judgment of termination of

the Debtor’s parental rights, entered by the Texas Trial Court on October 21, 2015. The Debtor

voluntarily relinquished his parental rights. The Debtor agreed to the Texas Trial Court’s order

terminating his rights. He never appealed.

       18.     Six months later, the Debtor changed his mind, and collaterally attacked the

termination. The Debtor’s collateral attack was denied by the Texas Bill-of-Review court, which

held unequivocally that the Debtor was not the victim of fraud, duress, or coercion, nor had the

Debtor ever appealed the order. It once again found him guilty of unclean hands and negligence.

The Texas Appeals Court overturned the denial of the termination bill of review on appeal, while

expressly holding that the Agreed Divorce Property Judgment was separately enforceable and




                                                7
 Case 19-10782       Doc 169      Filed 04/15/20 Entered 04/15/20 16:26:56            Desc Main
                                  Document      Page 8 of 13



affirming the denial of Debtor’s bill of review in the Divorce Case. Srivastava has appealed the

Texas Appeals Court’s reversal of the termination bill of review to the Texas Supreme Court.

The State of Texas and several prominent family law practitioners have written Amicus Letters

in support of Srivastava. No party has filed any amicus letter in support of the Debtor.

Arguments before the Texas Supreme Court were concluded in February, and the case remains

under advisement.

                                  Debtor’s Motion to Employ

       19.     The Debtor filed the Debtor’s Motion to Employ Special Counsel [Doc. No. 17]

(the “First Motion to Employ”) on April 2, 2019, seeking authority to employ Baruch to

represent the Debtor in the pending Termination Case.

       20.     On April 16, 2019 [Doc. No. 20], Srivastava objected to the First Motion to

Employ, which suffered from numerous procedural failures. For instance, the First Motion to

Employ consisted of a single sentence in its entirety—similar to the Baruch Application, which

itself contains only a single sentence describing the services rendered. Accordingly, the Court

denied the First Motion to Employ.

       21.     The Debtor filed the Amended Motion of Debtor to Employ Special Counsel [Doc.

No. 28] (the “Second Motion to Employ”) on May 6, 2019, remedying various flaws in the First

Motion to Employ, but failing to address Srivastava’s concerns regarding payment of additional

attorneys’ fees while continuing in contempt of Texas court orders to pay Srivastava. Srivastava

objected once again to the Second Motion to Employ on May 20, 2019 [Doc. No. 37], raising

equitable concerns regarding disposition of funds which rightly were subject to payment to

Srivastava pursuant to Texas court orders.




                                                 8
 Case 19-10782       Doc 169      Filed 04/15/20 Entered 04/15/20 16:26:56             Desc Main
                                  Document      Page 9 of 13



       22.     The Court allowed the Second Motion to Employ by order dated July 2, 2019

[Doc. No. 81], being careful to clarify that Baruch’s fees, if any, remain subject to Court

approval and objection by Srivastava:

               FOR THE REASONS STATED ON THE RECORD, THE DEBTOR'S
               APPLICATION TO EMPLOY CHARLES "CHAD" BARUCH AS
               SPECIAL COUNSEL IS HEREBY GRANTED. SPECIAL COUNSEL'S
               FEES, OF COURSE, REMAIN SUBJECT TO THE COURT'S LATER
               DETERMINATION AS TO WHETHER THE FEES SHOULD BE
               AUTHORIZED AND PAID. MS. SRIVASTAVA'S RIGHT TO OBJECT
               TO THOSE FEES IS NOT WAIVED BY THE ALLOWANCE OF THIS
               MOTION.

                                The Second Baruch Application

       23.     The Second Baruch Application seeks approval and payment of fees by the

Debtor in the amount of at least $9,450, virtually the highest possible amount allowed without

having to submit a Rule 2016 fee application pursuant to Rule 13-7(c) of the Massachusetts

Local Bankruptcy Rules (“MLBR”).

       24.     The Second Baruch Application consists of a cover sheet, together with Exhibit 1

(hourly time entries) and Exhibit 2 (a narrative description of services rendered). Neither Exhibit

is sufficient to allow proper consideration of the Baruch Application.

       25.     The First Baruch Application included an Exhibit 1 with only 5 time entries, all of

which are block entries with little narrative. The time amounts, while technically in tenths of

hours as required, are: 2.60, 6.50, 10.20, 8.00, and 0.40. Each description consists of a single

sentence or phrase. Fully 18.20 hours are summarized as “Continued legal research and drafting

work on Respondent’s Brief on the Merits.”

       26.     Exhibit 1 of the Second Baruch Application marks some improvement over the

First Baruch Application, but still includes several block entries for significant amounts.




                                                 9
 Case 19-10782       Doc 169     Filed 04/15/20 Entered 04/15/20 16:26:56             Desc Main
                                 Document      Page 10 of 13



       27.     Exhibit 2 is accurately styled a “brief narrative description of services”. While

Exhibit 2 spends approximately half a page describing background for the termination

proceedings (background that would have been appropriate in the First Motion to Employ), the

actual description of services rendered in connection with the Baruch Application itself

comprises two sentences:

               As the detailed invoice tendered with this application indicates, I spent
               numerous hours preparing for oral argument. That time consisted
               principally of rereading the briefs, reviewing the cited case law and
               statutes, preparing an outline of the argument, and preparing a list of the
               most likely questions the justices might ask (as well as travel to and from
               Austin, where the argument took place).

There is no other narrative or description of the services rendered in connection with the

Application.

       28.     Critically, the Second Baruch Application makes no mention of the First Baruch

Application. There is no indication of whether additional time was spent in this matter outside of

the 12 days covered by the combined Applications. Presumably, Baruch spent additional time on

this matter, but has furnished no record of that time. Moreover, the Second Baruch Application

does not indicate whether Baruch is reserving the right to charge for or seek approval of any such

time, including the time represented by the withdrawn First Baruch Application. In order to

meaningfully assess the present request, parties are entitled to understand the total amounts

sought or to be sought by Baruch.

       29.     Lastly, but most importantly, Baruch indicates that the Debtor made at least one

postpetition payment to Baruch in the amount of $4,800 on February 25, 2020. This is one day

after the First Baruch Application was withdrawn. No application of any kind for Baruch has

been approved by this Court. Accordingly, any amounts paid to Baruch are unauthorized and




                                                10
 Case 19-10782       Doc 169      Filed 04/15/20 Entered 04/15/20 16:26:56            Desc Main
                                  Document      Page 11 of 13



inappropriate. By the Court’s own approval order on the Second Motion to Employ, any fees of

Baruch remain subject to the Court’s determination.

         30.   Upon information and belief, Baruch is also holding $20,000 in the form of a

retainer. But for the Debtor’s filing, Srivastava could have sought to reach the retainer funds

pursuant to Texas court orders as part of her enforcement proceedings. Instead, the Debtor seeks

to enjoy the benefit of his filing by staying enforcement proceedings while at the same time

disposing of valuable assets that could fund plan payments to Srivastava. Moreover, it is

unclear from the Second Baruch Application whether Baruch even intends to apply the retainer,

or whether he expects the Debtor to affirmatively pay any award in addition to the retained

funds.

         31.   Debtor is a serial litigant who is no stranger to the courts and has already dragged

his former wife and creditor Srivastava through four years of litigation. The Debtor’s bankruptcy

filing, coming contemporaneously with his continued efforts to challenge Texas divorce court

orders, is merely the latest attempt to evade long-standing court orders. The Debtor has spent the

last three years spending the money he owes Srivastava on frivolous litigation attacking the

agreed divorce judgment. Texas courts have rejected his attacks, as should this Court. The

Debtor’s retention of Baruch as counsel arises from the Debtor’s own refusal to abide by

judgments to which he previously agreed in the Texas courts. Further exhausting assets which

should have long ago been paid to Srivastava is not an appropriate use of the Debtor’s estate.

         32.   Lastly, Texas provides no absolute right to counsel for civil litigants. The

employment of counsel is a privilege therefore, not a right, and moreover a privilege for which

Srivastava should not bear the expense. While Srivastava does not, in principle, oppose the

employment of counsel to assist the Debtor in the pending Texas proceedings, she does expressly




                                                11
 Case 19-10782        Doc 169       Filed 04/15/20 Entered 04/15/20 16:26:56           Desc Main
                                    Document      Page 12 of 13



payment of estate assets to such counsel, especially in light of the repeated and failed past

collateral attacks of the Debtor.

       33.     Equity demands that the Debtor not be emboldened to engage additional counsel

in connection with further collateral attacks on final judgments, including the Agreed Divorce

Property Judgment approving his proposed property settlement, all while the bankruptcy stay

prevents Srivastava from moving forward on her own rights to collect on final judgments against

him. Srivastava, as the Debtor’s only legitimate creditor of any consequence, should not be

expected to bear the expense of yet another frivolous challenge to any of the ten orders

previously defeating the Debtor’s repeated attempts.

       34.     In closing, the First Baruch Application required the careful review and objection

by Srivastava, only to be withdrawn without hearing. The Second Baruch Application required

additional close review and another objection. Srivastava has incurred significant expense

associated with Baruch’s on-again, off-again employment and applications for compensation. To

the extent the Second Baruch Application is similarly withdrawn, the fee requests should be

disallowed with prejudice.

       WHEREFORE, for all of the foregoing reasons, Srivastava requests that the Court enter

an order: (i) sustaining this Objection; (ii) denying the Second Baruch Application; and

(iii) granting Srivastava such other and further relief as just and necessary.

                                                   Respectfully submitted,

                                                   GITA SRIVASTAVA,

                                                   By her attorneys,


                                                   /s/ Alex F. Mattera
                                                   Alex F. Mattera, BBO No. 641760
                                                   Partridge Snow & Hahn LLP
                                                   30 Federal Street


                                                 12
 Case 19-10782       Doc 169     Filed 04/15/20 Entered 04/15/20 16:26:56            Desc Main
                                 Document      Page 13 of 13



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 Dated: April 15, 2020


                                CERTIFICATE OF SERVICE

       I, Alex F. Mattera, hereby certify that on the 15th day of April 2020 I caused to be served
a copy of the above pleading on all parties registered for electronic service through the CM/ECF
system. In addition, a copy was served by first-class mail upon:

               Charles Baruch, Esq.
               Johnston Tobey Baruch, P.C.
               12377 Merit Drive, Suite 880
               Dallas, TX 75251

                                                     /s/ Alex F. Mattera
                                                     Alex F. Mattera




                                                13
